               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,

                   Plaintiff,

v.
                                          CASE NO. 1:20-cv-00954-WO-JLW
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

                   Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO QUASH
      PLAINTIFF’S SUBPOENAS DUCES TECUM AND NOTICE TO
             TESTIFY AT A DEPOSITION AND MOTION
                    FOR PROTECTIVE ORDER

       NOW COMES non-party Craig Thomas Evers (“Evers”) by and through

undersigned counsel, and hereby submits this brief in support of non-party

Evers’ Motion to Quash the Subpoena duces tecum and Notice of Deposition of

Evers (collectively, the “Subpoenas”) and Motion for a Protective Order

commanding the same. This brief is submitted pursuant to Rules 26 and 45 of

the Federal Rules of Civil Procedure, and Local Rules 7.3 and 26.1.


                                BACKGROUND

       These Subpoenas arise out of Plaintiff Farhad Azima’s (“Plaintiff”)

apparent desire to harass and intimidate anybody Plaintiff can locate who may

have even known and done work with or for Defendants Nicholas del Rosso
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      Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 1 of 12
(“del Rosso”) or Vital Management Services, Inc. (“VMS”) (collectively

“Defendants”). From the public record, Evers can see that Plaintiff filed a

Complaint alleging eleven claims for relief. Only two of those claims now

remain. [D.E. 65]. Indeed, this Court has limited Plaintiff’s case to two of its

original claims; a North Carolina misappropriation of trade secrets claim, and

a civil conspiracy claim made expressly contingent on the former said to have

occurred between 2018 and 2019. Id.

      Despite what appears to be clear limitations in the scope of the case sub

judice, Plaintiff’s Subpoenas to non-party Evers are facially at odds with this

Court’s Order by, among other things, seeking information which is overly

broad, disproportionate, unduly burdensome, ambiguous, untimely and

unlikely to lead to the production of admissible evidence. Considering that

Evers has indicated to Plaintiff’s counsel that Evers lacks any relevant

information, let alone the fact that Defendants did not employ him as a

contractor during the operative dates of 2018 and 2019 (or even the broad

timeframe set out in the Subpoenas for documents of August 1, 2014 to the

present), the Subpoenas have the effect of harassing and oppressing Evers

because of his long ago association with Defendants on matters unrelated to

the instant litigation of which Evers knows nothing. Additionally, given the

individuals Plaintiff identified in the Subpoenas, the Subpoenas appear to



                                       2



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 2 of 12
have been issued as a vehicle for Plaintiff to conduct discovery for use in his

other unrelated cases.1

                                                     FACTS

           On or about March 23, 2023, Plaintiff served a broad based Subpoena

duces tecum on Evers, lacking any semblance of a limitation or recognition of

the sole remaining claims and operative date range, as reflected in the Court’s

prior Order referenced above. (See Exhibit A to the Declaration of Craig

Thomas Evers, filed simultaneously herewith (“Evers’ Declaration”).)

           Additionally, on or about March 23, 2023, Plaintiff served a “Subpoena

to Testify at a Deposition” on Evers, purporting to seek testimony regarding

overly broad information contained and referenced in the Subpoena duces

tecum. (See Exhibit B to Evers’ Declaration.) Specifically, paragraphs 10 and

11 of Evers’ Declaration state:

           a) The last time I did work for VMS and/or Mr. del Rosso was in early 2014,

           which is when I got out of PI work. We parted on good terms. By May of 2014

           I was looking for janitorial work; and

           b) I have performed no work of any kind for Mr. del Rosso or VMS since very

           early in 2014.

           Collectively the Subpoenas are overbroad, unduly burdensome, untimely

and unlikely to lead to the production of admissible evidence as explained and


1   See, e.g., Azima, et al. v. Dechert, et al., Case No. 1:22-CV-08728-PGG.

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         Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 3 of 12
set forth in detail in the Evers Declaration, which is incorporated herein by

reference in its entirety.

      The last time Evers did work for VMS and/or Mr. del Rosso was in early

2014, which is when he got out of PI work. He parted on good terms with the

Defendants. By May of 2014 Evers was looking for janitorial work. Evers has

performed no work of any kind for Mr. del Rosso or VMS since very early in

2014. (See Evers’ Declaration paragraphs 10 and 11.)

      Regarding the Subpoena for documents (Exhibit A to Evers’

Declaration), Evers is confident that he has no responsive documents. As

described in paragraph 12 of the Evers Declaration:

            (a) Evers’ PI days were far behind him.

            (b) Evers, over time, purposefully and intentionally, destroyed all

            of his investigative work files. His files had become so

            voluminous over the years that periodically he would have his

            older files destroyed. All of his PI files have now been destroyed

            for some time.

            (c) With regard to electronically stored information (i.e. his

            computers), Evers had a longtime friend who had a business

            where he would take computers (for free) and would wipe them

            clean, taking them back to like “factory new” and then would



                                       4



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 4 of 12
            resell them with new software. All of Evers’ work computers were

            repurposed in this way.

      After counsel for Evers had a meet and confer conference, Evers searched

his home and any and all devices which could be storing any kind of records to

see if there were any documents he could find that would relate in any way to

the information described in the Subpoenas. Evers found no responsive

documents and no documents related to any work for Mr. del Rosso or VMS.

Evers states in his Declaration that he believes all the work he did for Mr. del

Rosso or VMS was (would have been) destroyed, along with his PI work for

others. (See Evers’ Declaration, paragraph 14.)

      Given that Evers have not performed any PI work for Mr. del Rosso or

VMS from August 1, 2014 to the present, together with the fact that he has no

documents responsive to the Subpoena for documents he simply does not

believe he has any pertinent knowledge about the dispute among the parties

before the Court. Thus, insisting he testify is burdensome and unreasonable.

(See Evers’ Declaration, paragraph 17.)

                           STANDARD OF REVIEW

      Subpoenas issued [to non-parties] are governed by Federal Rule of Civil

Procedure 45(d)(1) which states, in part, that “[a] party or attorney responsible

for issuing and serving a subpoena must take reasonable steps to avoid

imposing undue burden or expense on a person subject to the subpoena.”

                                       5



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 5 of 12
Furthermore, Rule 45(d)(3)(A) requires that a court “must quash or modify a

subpoena that . . . subjects a person to undue burden.” Regarding protective

orders, Rule 26(c)(1) provides that a court may “issue an order to protect a

party or person from . . . undue burden or expense” by, among other measures,

“forbidding the disclosure or discovery” or “forbidding inquiry into certain

matters, or limiting the scope of disclosure or discovery to certain matters.”

      It is well-established that the undue burden standard operates as a

control over the discovery process, limiting both document and testimony

subpoenas to information which is both “relevant to any party’s claim or

defense” and “proportional to the needs of the case.” Virginia Dep’t of Corr. v.

Jordan, 921 F.3d 180, 188, 193 (4th Cir. 2019); Watts v. SEC, 482 F.3d 501,

508, 375 U.S. App. D.C. 409 (D.C. Cir. 2007). In determining if a subpoena

poses an undue burden a court will look at whether “the benefits of discovery

to the requesting party outweigh the burdens on the recipient.” Spring v. Bd.

of Trustees of Cape Fear Cmty. Coll., No. 7:15-CV-84-BO, 2016 U.S. Dist.

LEXIS 103977, 2016 WL 4204153, at *1 (E.D.N.C. Aug. 8, 2016). [If that

recipient is a non-party to the suit, then that non-party status is given “special

weight.” Virginia Dep’t of Corrections, 921 F.3d at 188 (4th Cir. 2019)].

      It is also relevant for the Court to enquire into a party’s true purpose in

issuing a discovery request; if that purpose is for the gathering of information

for use in proceedings other than the one at hand, then the request should be

                                        6



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 6 of 12
denied. See Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 364 n.17 (1978).

Similarly, if a party’s discovery request amounts to nothing more than a fishing

expedition with only a “hope” of uncovering wrongful actions, then it too should

be denied. See Elsayed v. Fam. Fare LLC, 2019 WL 8586708, at *4 (M.D.N.C.

Oct. 31, 2019).

                                   ARGUMENT

      1.     Given that Evers has not performed any PI work for Mr. del Rosso or

VMS from August 1, 2014 to the present, together with the fact that he has no

documents responsive to the Subpoena for documents (Exhibit A to Evers’

Declaration), he does not have any pertinent or relevant knowledge about the

dispute among the parties before the Court and it becomes clear that Plaintiff is on

a fishing expedition.

      2.     The Subpoena duces tecum seeks information from dates well after

Evers had ended performing work for del Rosso or VMS.

      3.     The information sought to be “discovered” is from and about

individuals and entities which Evers is totally unfamiliar with.

      4.     Plaintiff’s Subpoenas ignore entirely the scope of this case and

the limited discovery associated therewith. [D.E. 65].

      5.     Plaintiff has not shown he cannot obtain the information sought

from other sources, such as the Defendants:




                                          7



     Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 7 of 12
                 “In general, there is a preference for parties to obtain

                   discovery from one another before burdening non-parties

                   with discovery requests.” Soto v. Castlerock Farming &

                   Transp., Inc., 282 F.R.D. 492, 505 (E.D. Cal. 2012). see also

                   Genus Lifesciences Inc. v. Lannett Co., Inc., 2019 WL

                   7313047, at *4 (N.D. Cal. Dec. 30, 2019) (granting motion to

                   quash subpoena that imposed undue burden because

                   plaintiff did not attempt to obtain the requested documents

                   from defendant before seeking them from third party); Torre

                   v. Charter Commc’ns, Inc., 2020 WL 7705940, at *1 (S.D.N.Y.

                   Dec. 28, 2020) (quashing third-party subpoena that sought

                   information “that could and should be obtained from . . . a

                   party to this action.”)

      6.     Plaintiff’s Subpoenas pose significant financial burden on Evers,

all while seeking information which he does not have, and which is in

furtherance of Plaintiff’s “other” discovery efforts.

           o "A subpoena imposes an undue burden on a party when a subpoena

             is overbroad." Champion Pro Consulting Grp., Inc. v. Impact

             Sports Football, LLC, 2014 WL 6686727, at *4 (M.D.N.C. Nov. 26,

             2014) "A subpoena is overbroad if it does not limit the documents

             requested to subject matter relevant to the claims or defenses." Id.

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    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 8 of 12
             at 9-10 (quoting Innovative Therapies, Inc. v. Meents, Civ. A. No.

             DKC 12-3309, 302 F.R.D. 364, 2014 U.S. Dist. LEXIS 27119, 2014

             WL 858651, at *17 (D. Md. Mar. 4, 2014) (unpublished) (internal

             quotation marks omitted).

                               CONCLUSION

      For the reasons as provided herein, Evers respectfully requests that this

Court quash both the Subpoena duces tecum and the Subpoena for deposition

in their entirety due to their nature and requests therein. Evers also requests

this Court enter a protective order commanding the same as is necessary to

protect Evers from ongoing harassment and oppression at the hands of

Plaintiff.


      Respectfully submitted, this, the 11th day of April, 2023.

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                                         9



     Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 9 of 12
                 LOCAL RULE 37.1(a) CERTIFICATION

      Pursuant to Local Rule 37.1(a), I hereby certify, subject to Fed. R. Civ.

P. 11, and as set out more fully in this Motion, the parties met and conferred

on this issue via teleconference on March 31, 2023, that after personal

consultation and diligent attempts to resolve differences, the parties are

unable to reach an accord regarding withdrawal of Plaintiff’s Subpoena to

Produce Documents and Subpoena to Testify at a Deposition. However, on

April 5, 2023, counsel for Plaintiff did send, via email, an Amended Deposition

Subpoena and an Amended Notice of Deposition, as well as acknowledging an

extension deadline to respond to the Subpoena to Produce Documents.

      Respectfully submitted this 11th day of April, 2023.

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                                      10



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 10 of 12
                    WORD COUNT CERTIFICATION


     Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that this memorandum does not exceed the 6,250-word limitation

according to the word count feature of the word processing system used to

prepare the memorandum.

     Respectfully submitted this 11th day of April, 2023.

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                                      11



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 11 of 12
                        CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of April 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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                                       12



    Case 1:20-cv-00954-WO-JLW Document 200 Filed 04/11/23 Page 12 of 12
